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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )         No. 5:18-CR-81-REW-MAS
                                                  )
 v.                                               )
                                                  )                    ORDER
 STEFAN-ALEXANDRU PAIUSI,                         )
                                                  )
       Defendant.                                 )
                                                  )
                                                  )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 380 (Minute Entry), Judge Stinnett

recommended that the undersigned accept Defendant Paiusi’s guilty plea and adjudge him guilty

of Count 1 of the Superseding Indictment. See DE 383 (Recommendation); see also DE 382 (Plea

Agreement); DE 249 (Superseding Indictment) at ¶¶ 7–29. Judge Stinnett expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 383 at 2–3. The established, 3-day objection deadline has passed, and no

party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”

filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).
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       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 383, ACCEPTS Paiusi’s guilty plea, and ADJUDGES him

           guilty of Count 1 of the Superseding Indictment (DE 249 at ¶¶ 7–29);

       2. The Court further preliminarily ADJUDGES forfeitable the property identified at ¶ 9

           of DE 382, per the plea agreement and Defendant’s concession of forfeitability at the

           rearraignment, see DE 380; and

       3. The Court will issue a separate sentencing order.1

       This the 25th day of October, 2019.




1
 At the hearing, Judge Stinnett remanded Paiusi to custody. See DE 380. The Court, thus, sees no
need to further address detention, at this time.
